       Case 1:22-cr-02043-SMJ      ECF No. 23     filed 06/21/22   PageID.49 Page 1 of 2




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 4
     Attorney for Defendant
 5   Marcelo Anthony Benson
 6
 7
                          UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF WASHINGTON
                           The Honorable Salvador Mendoza, Jr.
 9
10   United States of America,
11                                   Plaintiff,        No. 1:22-CR-2043-SMJ
12
           v.                                          Notice of Substitution
13
     Marcelo Anthony Benson,
14
                                 Defendant.
15
16
           Please take notice that Jennifer R. Barnes of the Federal Defenders of Eastern
17
     Washington and Idaho hereby enters her substitution as counsel of record in this
18
19   matter. All future correspondence and court filings should be forwarded directly to the

20   address listed above.
21
22
23
24   Dated: June 21, 2022.

25

     Notice of Substitution: 1
       Case 1:22-cr-02043-SMJ       ECF No. 23    filed 06/21/22   PageID.50 Page 2 of 2




 1
                                                   By s/ Jennifer R. Barnes
 2                                                    Jennifer R. Barnes, 23664
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 6                                                    Jennifer_Barnes@fd.org
 7
 8                                   Certificate of Service

 9         I hereby certify that on June 21, 2022, I electronically filed the foregoing with the
10   Clerk of the Court using the CM/ECF System which will send notification of such
11   filing to the following: Thomas J. Hanlon, Assistant United States Attorney.
12
                                                   s/ Jennifer R. Barnes
13                                                 Jennifer R. Barnes
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     Notice of Substitution: 2
